Case 1:21-cv-00119-RDM   Document 72-1   Filed 03/18/22   Page 1 of 8




                         Exhibit A
                         Case 1:21-cv-00119-RDM           Document 72-1         Filed 03/18/22        Page 2 of 8




                                                               Exhibit A

                                    Side-by-Side Comparison of Environmental Information
                         Available to Public under Corps-led 404 Program and Florida-led 404 Program
   Environmental Information
                                                    Environmental Information Available under Florida 404 Program
  Available under Corps-led 404
                                                          (All information described below is publicly available)
            Programi
Purpose & Need for the Project    The purpose and need for a project are described in the permit documents and considered as part of the
(NEPA)                            “public interest” review and environmental conditions for issuance of permits. See Fla. Stat. §
                                  373.414(1)(a); Fla. Admin. Code § 62-330.301; Florida ERP Handbookii §§ 10.1.1, 10.2.1, 10.2.3. Florida
                                  ERP Handbook § 10.2.1 explains that DEP evaluates the purpose of the project in light of whether impacts
                                  can be reduced or eliminated. DEP application forms for ERP/404 permits (General Permit Form 62-
                                  330.402(1), section K; individual permit application form 62-330.060, section I) also reference project
                                  purpose information. See also Fla. Admin. Code ch. 62-331 and the Florida 404 Handbookiii for additional
                                  discussion related to project purpose and need. This information is publicly available.

Project Alternatives (NEPA)       Project alternatives are considered and evaluated as part of the Florida 404/ERP procedures. See Fla.
                                  Admin. Code § 62-331.053; Florida 404 Handbook § 5.2, § 8.3.1. This includes consideration of “no
                                  action alternatives.” See Florida 404 Handbook at § 8.3.1. A detailed discussion of Florida’s
                                  consideration of alternatives is provided in Appendix C of the Florida 404 Handbook Appendix C
                                  (“Guidance for Conducting Alternatives Analysis”), which explains that a 404 “permit cannot be issued if
                                  there is a practicable alternative to the proposed activity which would have less adverse impact on the
                                  aquatic ecosystem, as long as the alternative does not have other significant adverse environmental
                                  consequences. The level of detail in an alternatives analysis shall be commensurate with the scale of the
                                  adverse environmental effects of the project. Analysis of projects proposing greater adverse environmental
                                  effects shall be more detailed and explore a wider range of alternatives than projects proposing lesser
                                  effects.” In this analysis, Florida considers the “purpose and need” for the project proposal; identifies and
                                  evaluates “alternatives” that could meet the overall project purpose; analyze practicability and availability
                                  considerations; and identify the “least environmentally damaging practicable alternative,” which “must be
                                  selected.” Id. Florida also identifies the “environmental impacts for each remaining practicable alternate
                                  site.” Id. This information is publicly available.




                                                                    1
                           Case 1:21-cv-00119-RDM              Document 72-1          Filed 03/18/22        Page 3 of 8




Affected Environment (NEPA)            The Florida ERP and 404 permit application and review process obtains information about the project
                                       location and surrounding environment including affected waterbodies. See, e.g., Application for Individual
*This is included in the               and Conceptual Approval Environmental Resource Permit, State 404 Program Permit, and Authorization
requirements for an EIS but is not a   to Use State-Owned Submerged Lands (EPA-HQ-OW-2018-0640-0012). Section C of the Application
requirement for an EA prepared by      (EPA-HQ-OW-2018-0640-0012-A4), for example, requires descriptions of the wetlands or other surface
the Corps (33 CFR 230.10).             waters impacted by the project, along with aerials, maps, and other documents and materials to describe
                                       the affected environment. Section I of the Application requires, among other things, a description of “any
                                       listed species or designated critical habitat that might be affected by, or is in the vicinity of, the proposed
                                       activity,” including “the name(s) of those listed species or critical habitat areas,” description of “any
                                       actions proposed to be taken to avoid or minimize adverse effects to listed species” and “any other
                                       available data and information necessary for purposes of reviewing impacts to state and federal listed
                                       species.” Section I also requires the application to show the “location and extent of all wetlands and other
                                       surface waters, delineated in accordance with Chapter 62-340, F.A.C. The applicant must label all special
                                       aquatic sites (e.g., wetlands, sanctuaries and refuges, mudflats, vegetated shallows, and riffle and pool
                                       complexes). Each type of boundary (for example, ordinary high water line, mean high water line,
                                       wetlands, or other special aquatic sites) must be clearly annotated and/or symbolized to ensure they are
                                       differentiable on the map. Unless indicated below, all wetlands and other surface waters on the site, as
                                       delineated in accordance with Chapter 62-340, F.A.C., that will be impacted by the proposed activities
                                       will be evaluated for permitting purposes under Section 404 of the Clean Water Act.” Moreover, Florida
                                       evaluates project impacts on a “watershed” basis. See Florida 404 Handbook 2.0(52) (defining “watershed
                                       plan” as a plan that “addresses aquatic resource conditions in the watershed, multiple stakeholder interests,
                                       and land uses”). Additional information about the environment affected by the project is described in the
                                       Florida ERP and 404 Handbooks. This information is publicly available.
Environmental impacts of proposed      Florida Statutes Section 373.414(1) requires consideration of environmental impacts. See also Fla. Admin.
action (NEPA)                          Code § FAC 62-330.301; Florida Environmental Resource Permit Applicant’s Handbook Sections 10.1.1
                                       & 10.2.3; Florida 404 Handbook Sections 8.1(a) & 8.2(i). DEP must weigh the environmental impacts as
                                       part of the review of Florida 404 permits. Florida considers direct impacts, cumulative effects, secondary
                                       effects, and other similar issues. See Florida 404 Handbook § 8.3.5 and § 8.3.6. Florida ERP Handbook
                                       Section 10 describes all resources that should be evaluated and how the factors should be weighed. See
                                       also Fla. Admin. Code 331.060(1)(f), the Florida ERP Handbook, and the Florida 404 Handbook for
                                       additional information. This information is publicly available.




                                                                          2
                        Case 1:21-cv-00119-RDM          Document 72-1          Filed 03/18/22        Page 4 of 8




Mitigation Measures (NEPA)      Florida considers and prepares information concerning mitigation measures as part of the Florida 404
                                Program. See Fla. Stat. 373.414 (discussing mitigation measures for wetlands permitting); see generally
                                Fla. Admin. Code ch. 62-330. The Florida ERP Handbook (including Section 10.3) and the Florida 404
                                Handbook (Section 8.5 – 8.5.6.3) provide additional details on mitigation measures under the ERP/404
                                program. See also Fla. Admin. Code 62-331.130 & .140. Importantly, as explained in the Florida 404
                                Handbook Section 8.3.3: “[m]itigation for State 404 Program permits is generally evaluated in accordance
                                with Volume I, section 10.3, like ERP. However, in addition to those requirements, the federal mitigation
                                hierarchy described in section 8.5.1 of this Handbook, shall apply to any mitigation for State 404 Program
                                permits.” Mitigation is also discussed extensively in the project application documents (including, for
                                example, in Section C of the ERP/404 Application (EPA-HQ-OW-2018-0640-0012-A4)). This
                                information is publicly available.

Socioeconomic Information       Florida considers public health, safety, or welfare or the property of others as part of the “public interest”
(NEPA)                          review. See Fla. Stat. 373.414(1)(a)1. Moreover, socioeconomic and demographic information related to
                                projects remains publicly available through a variety of sources, including the Florida Office of Economic
                                & Demographic Researchiv (which produces demographic-related data and products, including by
                                county/municipality/age/race/sex/national origin) and the U.S. Census Bureauv (which publishes a wide
                                range of demographic and socioeconomic information about all project locations, including population
                                data, income and poverty statistics, education and employment metrics, housing, health, family, race and
                                ethnicity, and other similar data used for purposes of considering effects on populations in and around
                                project locations). Separately, Plaintiffs continue to have access to a variety of publicly available
                                databases specific to Environmental Justice, including EPA’s Environmental Justice mapping and
                                screening system known as “EJScreen,”vi as well as the CEQ’s Climate and Economic Justice Screening
                                Tool.vii This information is publicly available.




                                                                   3
                           Case 1:21-cv-00119-RDM         Document 72-1          Filed 03/18/22       Page 5 of 8




Historic/cultural/tribal           Florida engages in consultation regarding historic, archeological, cultural, and tribal resources as part of
(NEPA/NHPA)                        the Florida ERP and 404 programs. As detailed in the Florida ERP Handbook at Section 10.2.3.6, Florida
                                   considers whether the regulated activity will adversely affect or will enhance significant historical and
                                   archaeological resources. The applicant must map the location of and characterize the significance of any
                                   known historical or archaeological resources that may be affected by the regulated activity located in, on
                                   or over wetlands or other surface waters.” DEP also coordinates with the State Historic Preservation
                                   Office and other relevant federal and state agencies. The applicant will be required to perform an
                                   archaeological survey and to develop and implement a plan as necessary to demarcate and protect the
                                   significant historical or archaeological resources, if such resources are reasonably expected to be impacted
                                   by the regulated activity. DEP and the State Historic Preservation Office have entered into an Operating
                                   Agreement (available in the Administrative Record at EPA-HQ-OW-2018-0640-0016-A1), whereby DEP
                                   consults with the SHPO and the Indian Tribes. This Operating Agreement was approved by the Federal
                                   Historic Preservation Office as part of the federal consultation process, and was approved by EPA,
                                   integrating it as part of the 404 program. For individual permits, DEP shall send a copy of the public
                                   notice required by Rule 62-331.060, F.A.C., to EPA for review and comment. Additional information
                                   about DEP consideration of historic, cultural, and tribal issues under the Florida ERP and 404 Programs is
                                   available at: Florida 404 Handbook Section 5.2.2 and 5.2.6; Fla. Admin. Code 62-331.052(3)(b), .060(2),
                                   .110(7), .200(3)(g) – (i), .201(t) – (v); and the Programmatic Agreement with EPA (EPA-HQ-OW-2018-
                                   0640-0639) providing for elevation of issues of concern under Section 106 of the NHPA. This information
                                   is publicly available.




                                                                     4
                        Case 1:21-cv-00119-RDM          Document 72-1         Filed 03/18/22        Page 6 of 8




Protected Species (NEPA, ESA)   The Florida ERP and 404 Programs require consideration of impacts to listed species and habitat. See Fla.
                                Stat. 373.414(1)(a)2; ERP Handbook Section 10.2.2; Fla. Admin. Code 62-331.053(1)(4) and .200(3)(c);
                                Florida 404 Handbook s. 5.2.3. For purposes of the Florida 404 Program, review and consideration of
                                impacts to listed species and habitat is fully described in the State 404 Program Programmatic Biological
                                Opinion issued by the U.S. Fish & Wildlife Service in conjunction with EPA’s approval of Florida’s
                                program, as well as in the Memorandum of Agreement between DEP, the Florida Fish & Wildlife
                                Commission, and USFWS. The Florida 404 Handbook 1.3.3 also explains: “Compliance shall be
                                required, as applicable, with any requirements resulting from consultation with, or technical assistance by,
                                the Florida Fish & Wildlife Conservation Commission (FWC), the US Fish & Wildlife Service, and the
                                National Marine Fisheries Services (NMFS) for permits reviewed under the State 404 Program.” Section
                                5.2.3 of the Florida 404 Handbook also explains: “The Florida Fish and Wildlife Conservation
                                Commission (FWC), the U.S. Fish and Wildlife Service (FWS), and the National Marine Fisheries Service
                                (NMFS) will be provided an opportunity to review all applications for projects with reasonable potential
                                for affecting endangered or threatened species. Consultation with, or technical assistance by, FWC, FWS,
                                or NMFS shall be required when DEP determines that the project may have the potential to affect listed
                                species. To determine whether a project may have the potential to affect listed species, DEP may use
                                available resources such as scientific literature, species keys, and habitat maps, or it may observe signs
                                that the site is used by listed species during the site visit. If DEP determines that a listed species may be
                                affected, DEP shall seek consultation with or technical assistance by FWC, FWS, and NMFS, as
                                applicable, regarding the proposed project. DEP shall incorporate as permit conditions all recommended
                                impact avoidance and minimization measures (protection measures) provided by the FWC, FWS, or
                                NMFS under their respective authorities, to avoid jeopardizing listed species or adversely modifying
                                designated or proposed critical habitat. For individual permits, DEP shall send a copy of the public notice
                                required by Rule 62-331.060, F.A.C., to EPA for review and comment. If the FWC, FWS, or NMFS
                                concludes that a permit application is likely to jeopardize or adversely modify designated critical habitat
                                and no protection measures are available to reduce the risk to an acceptable level, DEP shall deny the
                                permit or shall take no action and notify EPA and the applicant of the decision in accordance with sub-
                                subparagraph 62-331.052(3)(b)6.b., F.A.C.” Additional details are provided in the documents referenced
                                above. This information is publicly available.
Coastal Zone (NEPA/CZM)         Within Florida’s 404 program, compliance with the Coastal Zone Management Program is required for
                                issuance of a permit. See Rule 62-331.070(2), F.A.C. Florida's coastal zone includes the area
                                encompassed by the state's 67 counties and its territorial seas. The Florida Coastal Zone Management
                                Program consists of a network of 24 Florida statute chapters administered by nine state agencies and five
                                water management districts. Coastal zone impacts are considered consistent with Florida ERP Handbook
                                1.3.1.1. See also Fla. Admin. Code 62-331.070. This information is publicly available.




                                                                  5
                           Case 1:21-cv-00119-RDM              Document 72-1          Filed 03/18/22        Page 7 of 8




CWA 404(b)(1) Guidelines               Florida reviews and considers comparable information to the information considered by the Corps
                                       pursuant to the Corps’ Section 404(b)(1) Guidelines, which provide that “dredged or fill material should
*Not a requirement under NEPA          not be discharged into the aquatic ecosystem, unless it can be demonstrated that such a discharge will not
but included here because Plaintiffs   have an unacceptable adverse impact either individually or in combination with known and/or probable
referenced these guidelines at the     impacts of other activities affecting the ecosystems of concern.” For a comprehensive (155-page)
March 15, 2022 hearing                 comparison of the Corps 404 Program requirements and the Florida ERP and 404 Programs, please refer
                                       to the comparison table found in the Administrative Record at EPA-HQ-OW-2018-0640-0016-A3,
                                       available at https://www.regulations.gov/document?D=EPA-HQ-OW-2018-0640-0016. In particular,
                                       pages 37 to 39 of the comparison spreadsheet identify Florida regulations that align with the requirements
                                       of the federal 404(b)(1) guidelines. Florida Admin. Code 62-331.052 and 62-331.053 also provide
                                       requirements comparable to the federal 404(b)(1) guidelines. This information is publicly available.
Public Interest Factors (33 CFR        Florida evaluates “public interest” factors in evaluating 404 permits. See Fla. Stat. § 373.414. This
320.4(a))                              includes, among other things, effects to the public health, safety, or welfare or the property of others;
                                       effects to the conservation of fish and wildlife, including endangered or threatened species, or their
                                       habitats; effects to navigation or the flow of water or cause harmful erosion or shoaling; effects to the
                                       fishing or recreational values or marine productivity in the vicinity of the activity; temporary or permanent
                                       nature of a project; effects on significant historical and archaeological resources; and the current condition
                                       and relative value of functions being performed by areas affected by the proposed activity. Id. §
                                       373.414(a). Public interest information is also obtained as part of the ERP/404 Applications (see, e.g.,
                                       Section C of the Application). The public interest review is also discussed extensively in the Florida ERP
                                       Handbook at Section 10.2.3. This information is publicly available.
Agencies and Persons Consulted         Florida provides information about all federal, state, and local agencies and other persons consulted or
(NEPA)                                 who otherwise comment on Section 404 permit applications. DEP is required to send public notice to the
                                       applicant, any other agency with jurisdiction over the activity or project site, adjoining property owners,
                                       any State or tribe who’s waters may be affected, and all persons who have requested copies of public
                                       notices. Fla. Admin. Code Ann. r. 62-331.060. This information is publicly available.




i
  The Corps’ NEPA regulations provide that “[m]ost permits will normally require only an EA,” not an EIS, 33 § C.F.R. 230.7(a), and that an “EA
is a brief document which provides sufficient information to the district commander on potential environmental effects of the proposed action and,
if appropriate, its alternatives, for determining whether to prepare an EIS or a [Finding of No Significant Impact, or FONSI].” 33 C.F.R. §
230.10(a). An EA must “include a brief discussion of the need for the proposed action, or appropriate alternatives if there are unresolved conflicts


                                                                         6
                               Case 1:21-cv-00119-RDM             Document 72-1          Filed 03/18/22    Page 8 of 8




concerning alternative uses of available resources, of the environmental impacts of the proposed action and alternatives and a list of the agencies,
interested groups and the public consulted.” Id. at § 230.10(b) (emphasis added).
ii
 The Florida DEP’s Environmental Resource Permit Applicant’s Handbook is available in the Administrative Record at EPA-HQ-OW-2018-
0640-0002-A1 through EPA-HQ-OW-2018-0640-0002-A4. Copies are also available for public review on-line at
https://floridadep.gov/water/water/content/water-resource-management-rules.
iii
  DEP’s State 404 Program Applicant’s Handbook is available in the Administrative Record at EPA-HQ-OW-2018-0640-0002-A20. Copies are
also available for public review on-line at https://floridadep.gov/water/water/content/water-resource-management-rules.
iv
      http://edr.state.fl.us/content/population-demographics/data/index-floridaproducts.cfm.
v
      https://www.census.gov/data.html
vi
      https://www.epa.gov/ejscreen
vii
      https://screeningtool.geoplatform.gov/en/




                                                                             7
